                IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF KANSAS

In re:

MARK H. ENGEN                                                  Case No. 15-20184-rdb-13
MAUREEN E. ENGEN

               Debtors.


           MOTION TO INCUR DEBT TO PURCHASE A NEW HVAC UNIT

    COME NOW Debtors, by and through counsel, and move the Court for leave

to incur additional, post-petition consumer debt for the purchase of a new HVAC unit.

    IN SUPPORT THEREOF Debtors suggest to the Court as follows:

    1. Debtors’ current HVAC has stopped working, meaning no air conditioning or

heating.

    2. Debtors have an offer to finance a replacement for an amount financed of

approximately $4,684.00 with payments in the range of $92.73 per month at about

6.990% APR for less than 60 months.

   3. Debtors will provide a copy of the final sales contract within 7 days of purchase.

   WHEREFORE Debtors pray that the Court shall grant permission to incur

new debt forthwith.


__/s/ David A. Reed______
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                             CERTIFICATE OF SERVICE

   I hereby certify that a true and correct copy of the foregoing was served on all parties
requesting electronic notice on this 11th day of September, 2018.

__/s/ David A. Reed______
David A. Reed #14581 KS




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